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            Exhibit 35




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                                        REPORT OF ANTICIPATED FEES AND EXPENSES
                        For Cloud Imperium Games Corp. and Roberts Space Industries Corp. (together, “CIG”)
                             Crytek GmbH v. Cloud Imperium Games Corp., et al., Case No. 2:17-CV-08937


Attorneys Assigned to Case
 Attorney                    Years in     Attorney Level      Status                Approved Rate
                             Practice
 Joseph R. Taylor            32           1                   Partner               $725.00
 Jeremy S. Goldman           13           2                   Partner               $650.00
 Azita Iskandar              8            3                   Associate             $382.50



Budget for Anticipated Legal Fees
Note: This budget does not include estimates for events that occurred prior to the date of the preparation of this budget on March 18,
2019.
DESCRIPTION OF               LEVEL 1    LEVEL 1    LEVEL 2   LEVEL 2      LEVEL 3   LEVEL 3    LOW EST.      HIGH EST.
ACTIVITY                     TIME       TIME       TIME      TIME         TIME      TIME       COST          COST
                             (LOW       (HIGH      (LOW      (HIGH        (LOW      (HIGH
                             EST.)      EST.)      EST.)     EST.)        EST.)     EST.)

Fact Investigation &                5         10        20         30          20         30   $24,275.00    $38,225.00
Development

Written Discovery                  10         20        20         40          30         40   $31,725.00    $55,800.00

Document Production                 5         10        20         40          50        100   $35,750.00    $71,500.00

Depositions – Defend (est.         20         40       100        200         100        200   $117,750.00   $235,500.00
10 depos)



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DESCRIPTION OF                LEVEL 1   LEVEL 1   LEVEL 2   LEVEL 2    LEVEL 3   LEVEL 3   LOW EST.      HIGH EST.
ACTIVITY                      TIME      TIME      TIME      TIME       TIME      TIME      COST          COST
                              (LOW      (HIGH     (LOW      (HIGH      (LOW      (HIGH
                              EST.)     EST.)     EST.)     EST.)      EST.)     EST.)

Depositions – Take (est. 10        40        80       150        250       150       250   $183,875.00   $316,125.00
depos)

Experts/Consultants                 5        10        10         20        20        30   $17,775.00    $31,725.00

Expert Discovery                    5        10        10         20        20        30   $17,775.00    $31,725.00

Dispositive Motions                20        40        40         60        40        60   $55,800.00    $90,950.00

Other                               2         5         5         10         2         5   $5,465.00     $12,037.50
Motions/Submissions and
Court Appearances

Other Discovery                     5        10        10         20        10        20   $13,950.00    $27,900.00

Settlement/Non-Binding             10        20        40         50        10        20   $37,075.00    $54,650.00
ADR

Trial Preparation and Trial       100       200       300        400       300       400   $382,250.00   $558,000.00
(Est. 5-10 days)

Communication with                  5        10        20         30         5        10   $18,537.50    $30,575.00
Carrier

Other Activities (e.g.,             5        10        20         30        20        30   $24,275.00    $38,225.00
communication with
opposing counsel,
incidental re-search)

                                                                                           $966,277.50   $1,592,937.50




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Budget for Anticipated Expenses
    Expense                                                    Low Est.                 High Est.
    Outside Printing                                             $1,000                    $2,500
    Online Research                                                 N/A                       N/A
    Travel                                                         $500                     $1000
    Court Fees                                                     $500                     $1000
    Subpoena Fees                                                  $100                      $500
    Witness Fees                                                   $100                      $500
    Court Reporter &                                            $33,485                $34,357.50
    Videographer Services for
    Depositions Taken (est. 10)1
    Deposition Transcripts for                                    $8,000                 $15,000
    Depositions Defended (est.
    10)
    E-Discovery Vendor2                                         $56,700                   $56,700
    Trial Transcripts                                            $1,500                    $3,000
    Trial Exhibits                                               $2,500                    $5,000
    Trial Tech Vendor3                                          $13,025                   $23,275
    Experts                                                     $25,000                   $50,000
    Private Investigator                                           N/A                       N/A
    Arbitrators/Mediators                                       $10,000                   $20,000
    Local Counsel                                                  N/A                       N/A
    Other Professionals                                            N/A                       N/A
                                                             $152,410.00             $212,832.50




1
  Estimates based on price quotes provided by Centext Legal Services.
2
  Estimates based on price quotes provided by Ernst & Young LLP.
3
  Estimates based on price quotes provided by Centext Legal Services.

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